        04-12771-mkv          Doc 735     Filed 12/22/17 Entered 12/23/17 00:19:00                     Imaged
                                        Certificate of Notice Pg 1 of 2
                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF NEW YORK
                                                One Bowling Green
                                             New York, NY 10004−1408


IN RE: CashPoint Network Services, Inc.                      CASE NO.: 04−12771−mkv

Social Security/Taxpayer ID/Employer ID/Other Nos.:          CHAPTER: 7
13−3857072




                                        ORDER OF FINAL DECREE



The estate of the above named debtor has been fully administered.

IT IS ORDERED THAT:

John S. Pereira is discharged as trustee of the estate and the chapter 7 case of the above named debtor(s) is closed.


Dated: December 20, 2017

                                                     Mary Kay Vyskocil , Bankruptcy Judge
              04-12771-mkv           Doc 735       Filed 12/22/17 Entered 12/23/17 00:19:00                          Imaged
                                                 Certificate of Notice Pg 2 of 2
                                               United States Bankruptcy Court
                                               Southern District of New York
In re:                                                                                                     Case No. 04-12771-mkv
CashPoint Network Services, Inc.                                                                           Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0208-1                  User: mlopez                       Page 1 of 1                          Date Rcvd: Dec 20, 2017
                                      Form ID: 149                       Total Noticed: 4


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 22, 2017.
aty            +Mary Elizabeth Tom,   Office of the U.S. Trustee,    33 Whitehall Street,   21st Floor,
                 New York, NY 10004-2112
aty            +Paul Kenan Schwartzberg,    Office of the United States Trustee,   201 Varick Street, Room 1006,
                 New York, NY 10014-9449
ust            +Deirdre A. Martini,   Office of the United States Trustee,    33 Whitehall Street,   21st Floor,
                 New York, NY 10004,     U.S. 10004-2112
algdb          +CashPoint Network Services, Inc.,    143 West 72nd Street,   New York, NY 10023-3201

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
tr                Andre M. Toffel
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 22, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 20, 2017 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
